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                         UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF OHIO

                                 EASTERN DIVISION


JOHN C. PORTER, Individually and on Behalf )    No.
of All Others Similarly Situated,          )
                                           )    Judge
                              Plaintiff,   )
                                           )    CLASS ACTION
        vs.                                )
                                           )
GRAFTECH INTERNATIONAL LTD.,               )
DAVID RINTOUL, QUINN COBURN,               )
MARCEL KESSLER, TIMOTHY K.                 )
FLANAGAN, JEREMY S. HALFORD, BCP )
IV GRAFTECH HOLDINGS LP,                   )
BROOKFIELD CAPITAL PARTNERS LTD., )
and BROOKFIELD ASSET MANAGEMENT )
LTD.,                                      )
                                           )
                              Defendants.
                                           )
                                           )    DEMAND FOR JURY TRIAL



        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS


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       John C. Porter (“plaintiff”), individually and on behalf of all others similarly situated, by

plaintiff’s undersigned attorneys, for plaintiff’s complaint against defendants, alleges the following

based upon personal knowledge as to plaintiff and plaintiff’s own acts, and upon information and

belief as to all other matters based on the investigation conducted by and through plaintiff’s

attorneys, which included, among other things, a review of certain U.S. Securities and Exchange

Commission (“SEC”) filings and press releases by GrafTech International Ltd. (“GrafTech” or the

“Company”), Company press releases and earning calls, and analyst and media reports about the

Company. 1 Plaintiff believes that substantial evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is a securities class action on behalf of all purchasers of GrafTech common stock

between February 8, 2019 and August 3, 2023, inclusive (the “Class Period”). Plaintiff seeks to

pursue remedies under §§10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), and Rule 10b-5 promulgated thereunder, against GrafTech and certain of the Company’s

senior executives, directors, and controlling shareholder.

                                 JURISDICTION AND VENUE

       2.      The claims asserted herein arise under §§10(b) and 20(a) of the Exchange Act, 15

U.S.C. §§78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder, 17 C.F.R. §240.10b-5.

       3.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§1331 and §27 of the Exchange Act, 15 U.S.C. §78aa.

       4.      Venue is proper in this District pursuant to §27 of the Exchange Act and 28 U.S.C.

§1391(b) because the Company resides in this District and the events and omissions giving rise to




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       Emphasis has been added throughout unless otherwise noted.

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the claims asserted herein occurred in substantial part in this District, including the dissemination of

false and misleading statement in and from this District. GrafTech is headquartered in this District.

       5.      In connection with the acts alleged in this complaint, defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited to,

the mails, interstate telephone communications, and the facilities of the national securities markets.

                                              PARTIES

       6.      Plaintiff John C. Porter, as set forth in the accompanying certification, which is

incorporated by reference herein, purchased GrafTech common stock during the Class Period and

has been damaged thereby.

       7.      Defendant GrafTech is a global manufacturer of graphite electrode products and is

headquartered in Brooklyn Heights, Ohio. GrafTech common stock is listed on the New York Stock

Exchange (“NYSE”) under the ticker symbol “EAF.”

       8.      Defendant David Rintoul (“Rintoul”) served as GrafTech’s President and Chief

Executive Officer (“CEO”) and as a member of the Company’s Board of Directors (“Board”) from

March 2018 until his resignation from the Company in June 2022.

       9.      Defendant Quinn Coburn (“Coburn”) served as GrafTech’s Chief Financial Officer

(“CFO”) from September 2015 until November 2021. Prior to his role as CFO, Coburn served as

GrafTech’s Vice President of Finance and as Treasurer.

       10.     Defendant Marcel Kessler (“Kessler”) was appointed to serve as CEO in July 2022

following defendant Rintoul’s resignation. GrafTech announced defendant Kessler’s resignation on

September 28, 2023.

       11.     Defendant Timothy K. Flanagan (“Flanagan”) served as GrafTech’s CFO and Vice

President Finance and Treasurer after defendant Coburn’s resignation in November 2021. Following

the resignation of defendant Kessler, defendant Flanagan became GrafTech’s Interim CEO.


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       12.     Defendant Jeremy S. Halford (“Halford”) was appointed to serve as Executive Vice

President and Chief Operating Officer (“COO”) in October 2021. Prior to his role as COO, Halford

served as the Company’s Senior Vice President, Operations and Development since May 2019.

       13.     Defendants referenced above in ¶¶8-12 are referred to herein as the “Individual

Defendants.” The Individual Defendants and the Company are referred to herein as “defendants.”

       14.     Each of the Individual Defendants was directly involved in the management and day-

to-day operations of the Company at the highest levels and was privy to confidential proprietary

information concerning the Company and its business, operations, services, competition, and present

and future business prospects. In addition, the Individual Defendants were involved in drafting,

producing, reviewing, and disseminating the false and misleading statements and information alleged

herein, were aware of, or recklessly disregarded, the false and misleading statements being issued

regarding the Company, and approved or ratified these statements, in violation of the federal

securities laws.

       15.     As officers and controlling persons of a publicly held company whose securities are

registered with the SEC pursuant to the Exchange Act and traded on the NYSE, which is governed

by the provisions of the federal securities laws, the Individual Defendants each had a duty to

promptly disseminate accurate, truthful, and complete information with respect to the Company’s

operations, business, services, markets, competition, and present and future business prospects. In

addition, the Individual Defendants each had a duty to correct any previously issued statements that

were materially misleading or untrue, so that the market price of the Company’s publicly traded

shares would be based upon truthful, accurate, and complete information. Defendants’ false and

misleading misrepresentations and omissions during the Class Period violated these specific

requirements and obligations.




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       16.     The Individual Defendants, because of their positions of control and authority as

officers and/or directors of the Company, were able to, and did, control the contents of various SEC

filings, press releases, and other public statements pertaining to the Company during the Class

Period. Each Individual Defendant was provided with copies of the documents alleged herein to be

false and/or misleading before or shortly after their issuance, participated in conference calls with

investors during which false and misleading statements were made, and had the ability and

opportunity to prevent their issuance or cause them to be corrected. Accordingly, each Individual

Defendant is responsible for the accuracy of the public statements detailed herein and is, therefore,

primarily liable for the representations contained therein.

       17.     Defendant BCP IV GrafTech Holdings LP is an indirect wholly owned subsidiary of

defendant Brookfield Capital Partners.

       18.     Defendant Brookfield Capital Partners Ltd. is the private equity arm of defendant

Brookfield Asset Management Inc.

       19.     Defendant Brookfield Asset Management Ltd. is a global alternative asset

management based in Canada.

       20.     Defendants BCP IV GrafTech Holdings LP, Brookfield Capital Partners Ltd., and

Brookfield Asset Management Ltd. are collectively referred to herein as “Brookfield.” Defendant

Brookfield was the controlling shareholder of GrafTech during the Class Period and controlled each

of the Individual Defendants.

       21.     Immediately following GrafTech’s April 2018 initial public offering (the “IPO”),

defendant Brookfield owned approximately 78% of GrafTech’s outstanding common stock and

maintained majority control over the Company. As such, GrafTech was considered a “controlled

company” under NYSE rules. In addition, defendant Brookfield entered into a stockholders’

agreement with the Company, pursuant to which defendant Brookfield had the right to appoint the


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greater of 37.5% or three directors to the Board and providing Brookfield with certain special rights

and privileges unavailable to outside shareholders.

        22.     Defendant Brookfield also oversaw and controlled the management of the Company.

For example, defendant Brookfield caused GrafTech to hire Rintoul and Coburn as CEO and CFO,

respectively, prior to the IPO. Numerous directors of GrafTech were also affiliated with Brookfield,

including Denis A. Turcotte (Managing Partner at Brookfield), Jeffrey Dutton (President at

Brookfield), Ron A. Bloom (Managing Partner and Vice Chairman at Brookfield), and David

Gregory (Senior Vice President at Brookfield).

        23.     Defendant Brookfield used its control over the Company to complete the IPO, in

which it sold 35 million shares of GrafTech common stock at $15 per share, and to conduct 6 other

registered public offerings in which it sold nearly $2 billion worth of GrafTech common stock at

artificially inflated prices. Defendant Brookfield also caused GrafTech to enter into various

agreements with it that were favorable to its own financial interests, including two share repurchase

agreements in August 2018 and December 2019 which required GrafTech to collectively purchase

nearly 31 million shares directly from defendant Brookfield, providing further artificial price support

to GrafTech shares.

                                          BACKGROUND

        24.     Headquartered in Brooklyn Heights, Ohio, GrafTech is a global manufacturer of

graphite electrode products that are used in the production of electric arc furnace (“EAF”) steel – a

purportedly greener alternative to traditional steelmaking methods. In contrast to conventional blast

furnaces, which rely directly on coal, natural gas, and oil, EAF utilizes graphite electrodes to conduct

electricity and to generate sufficient heat to melt scrap metal, iron ore, or other raw materials used to

produce steel or other metals. GrafTech’s customers are comprised of steel manufacturers that use

EAF to produce steel.


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       25.     As a manufacturing process, EAF steel requires less capital and operating

expenditures, results in less environmental pollution, and offers greater flexibility in responding to

demand changes as compared to traditional steelmaking methods. As a result, EAF-produced steel

has historically outpaced the growth of the overall steel market. Beginning in 2011, however, the

trend towards the steady adoption of EAF steel was partially reversed due to a glut in the global

supply of steel, driven primarily by overproduction from blast furnace steel operators in China. As a

result, GrafTech underwent a period of declining demand for its graphite electrodes, which led to

falling revenues and growing losses. By the end of 2014, for example, GrafTech’s annual net losses

had ballooned to more than $285 million, growing 1,000% from a net loss of approximately $27

million in the year prior. In April 2015, GrafTech’s then-CEO Joel Hawthorne warned that the

challenges were expected to continue, stating that:

       [G]raphite electrode demand continued to soften as global electric arc furnace (EAF)
       steel production weakened. Lower end-market demand in certain steel consuming
       sectors, continued high Chinese steel exports and other market dynamics led to lower
       EAF customer utilization rates, particularly in North America. These factors are
       expected to create a challenging operating environment for our Company and the
       industry as a whole for the remainder of 2015.

       26.     Amid this slump in the market for graphite electrodes, GrafTech announced on May

17, 2015 that it had entered into an agreement to be purchased by defendant Brookfield. Pursuant to

the Plan of Merger Agreement, Brookfield agreed to make a cash tender offer to purchase all

outstanding shares of GrafTech common stock at a purchase price of $5.05 share, resulting in a total

valuation of approximately $700 million. On August 17, 2015, GrafTech announced that the

Company’s acquisition by Brookfield had been completed and that GrafTech had become a wholly

owned affiliate of Brookfield. As a result, trading of GrafTech common stock on the NYSE ceased

as of market open on August 17, 2015.

       27.     Over the next three years, GrafTech underwent an extensive transformation that was

intended to revamp the Company’s business and return it to profitability. As part of this

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transformation, GrafTech shifted all of its manufacturing operations to three of its highest-capacity

and lowest-cost facilities located in: (i) Monterrey, Mexico; (ii) Pamplona, Spain; and (ii) Calais,

France. Following this shift, GrafTech manufactured all of its pin stock inventory at its Monterrey

facility. Pin stock is a critical component in GrafTech’s manufacturing process. To be utilized by

GrafTech’s customers, each graphite electrode must be affixed with one pin stock. Because

GrafTech’s Monterrey facility was the sole supplier of pin stock for all of the Company’s

manufacturing facilities, the uninterrupted operation of the Monterrey facility was of paramount

importance for GrafTech’s business and operational performance.

       28.     As further part of its transformation, the Company implemented a new commercial

strategy to sell a majority of its graphite electrode output through three-to-five year “take or pay”

contracts, which were premised upon GrafTech’s purported ability to reliably deliver its customers

with graphite electrodes. GrafTech’s take or pay agreements contained fixed annual prices and

volumes for the contracted term. In addition, these agreements accounted for the majority of the

Company’s total net sales. For example, sales from GrafTech’s long-term agreements represented

87% and 80% of the Company’s net sales in 2020 and 2019, respectively. During the Class Period,

sales from long-term agreements were generally of higher margin than non-contracted “spot” sales,

and therefore, represented a more profitable source of revenues for the Company.

       29.     Having completed this purported business turnaround, Brookfield conducted

GrafTech’s IPO on April 19, 2018, selling roughly 35 million shares, or approximately 12% of its

equity stake, at $15 per share for gross offering proceeds of $525 million. An additional 3.1 million

shares were sold by Brookfield pursuant to a partial exercise of the underwriters’ overallotment

option for an additional $46 million. None of the proceeds from these sales went to the Company, as

all proceeds went to defendant Brookfield. Brookfield also caused GrafTech to enter into an




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agreement to pay it a $160 million special cash dividend in connection with the IPO conditioned on

the Company’s financial results and certain other factors.

       30.     IPO offering documents lauded GrafTech’s “transformation” and claimed the

Company had emerged from its restructuring with the “most competitive portfolio of low-cost

graphite electrode manufacturing facilities in the industry.” The offering documents further

represented that GrafTech’s facilities were “modern, strategically located and well-maintained,”

which they claimed would provide the Company with efficient growth opportunities following the

offering. Key to this purportedly sustainable growth were claims in IPO offering materials regarding

the “more environmentally friendly nature of EAF steelmaking” employed by GrafTech’s customers.

       31.     Defendants continued to represent throughout the Class Period that GrafTech was

committed to protecting the environment and acting “proactively” to advance sustainability

initiatives. For example, speaking during a November 2020 conference call, defendant Rintoul

represented that GrafTech was focused on being “good environmental stewards” and that they were

“fully committed” to advancing their “ESG efforts.” Similarly, in a May 2022 conference call

defendant Halford represented that GrafTech was making “good progress” on sustainability

initiatives and serving as “a key contributor” to the decarbonization of steel. The Company’s SEC

filings repeatedly highlighted the purportedly “environmentally friendly EAF model” used by

GrafTech’s customers and the favorable “environmental performance” of the Company overall and

the Monterrey facility in particular.

       32.     Unbeknownst to investors, however, GrafTech’s purported cost leadership was

achieved in substantial part by failing to implement effective environmental safeguards at the

Monterrey facility. As a result, GrafTech’s operations in Monterrey, Mexico had for decades

chronically contaminated neighboring communities with harmful carcinogenic gasses and particulate

matter, leaving GrafTech acutely exposed to material undisclosed risks of government enforcement


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actions, and consequently to business and operational disruptions and adverse financial and

reputational impacts. Indeed, GrafTech had been repeatedly warned by local authorities over an

approximately 30-year period regarding the Company’s wanton disregard for the health and

wellbeing of local communities and the damage that its manufacturing processes were inflicting

upon the environment. GrafTech had even signed agreements with local authorities in the Monterrey

area in which it promised to improve its local impacts, but had failed to honor these commitments

causing the government of a local municipality, Apodaca, to seek help from the State of Nuevo León

(where Monterrey is located) during the Class Period.

       33.     Defendants continued their deception even in the face of government scrutiny. In

March 2019, the Department of Sustainable Development of the State of Nuevo León issued

GrafTech a notice of administrative proceedings, which required the Company to design and

implement certain corrective measures involving potential violations of environmental law relating

to emissions. Although GrafTech disclosed in its public filings with the SEC that it had received the

notice, GrafTech failed to disclose the full extent and severity of its environmental misconduct,

maintaining the Company’s false narrative that its operations in Monterrey were environmentally

above board. Rather than come clean about its environmental impact, GrafTech concealed its

transgressions by reporting that it had “cooperated” with the authorities and announcing that the

department formally closed the proceeding in September 2019 following its payment of certain

“non-material” fines and the implementation of various environmental improvements at the facility.

Indeed, GrafTech represented throughout the Class Period that it was in “compliance” with

applicable environmental laws and regulations.

       34.     While the price of GrafTech common stock was artificially inflated, defendant

Brookfield unloaded more than $2.8 billion in GrafTech common stock, selling approximately 75%

of its equity stake in the Company within just three years of returning to the public equity markets.


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Notably, defendants caused GrafTech to enter into two share repurchase agreements in August 2018

and December 2019, which collectively required GrafTech to repurchase nearly 31 million shares

directly from Brookfield at prices exceeding $19 per share, for total proceeds of approximately $475

million.

       35.     Then, on September 16, 2022, GrafTech unexpectedly revealed that GrafTech’s

critical manufacturing facility in Monterrey, Mexico had been shut down by regulators following

inspections by the State Attorney’s office for the Secretary of Environment and the Ministry of the

Environment. This information was of critical importance to investors as the Monterrey facility was

responsible for manufacturing 30% of GrafTech’s overall graphite electrode output and 100% of its

pin stock. In the wake of this revelation, Mexican news outlets reported that the cessation order had

been made in response to GrafTech’s excessive pollution of hazardous carcinogenic gasses and

particulate matter into neighboring communities over a prolonged time frame. Following the

closure, the mayor of local municipality Apodaca, Cesar Garza, took to Facebook Live to applaud

the shutdown and disclosed that the municipality had voted in plenary session to formally request

that GrafTech’s facility be required to close and relocate, citing more than 30 years of environmental

abuses by the Company.

       36.     On this news, the price of GrafTech common stock fell from $5.30 per share on

September 16, 2022 to $4.61 per share on September 20, 2022, a decline of approximately 13% over

a three-day trading period on above-average trading volume.

       37.     On November 18, 2022, GrafTech announced that its facility in Monterrey, Mexico

was conditionally permitted to resume operations subject to the Company’s completion of certain

remediation efforts. Although the Monterrey facility was eventually permitted to re-open, defendant

Kessler subsequently revealed during a February 2023 conference call that the temporary closure had

severely disrupted the Company’s operations and would have a “significant” negative impact on


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GrafTech’s business performance going forward. Specifically, defendant Kessler revealed that the

shutdown required GrafTech to irreparably deplete its critically needed pin stock inventory and to

miss a key contract negotiation window, crippling its ability to secure contract orders for 2023. As a

result, GrafTech reported sales declines of 62% and 49% in the first and second quarters of 2023,

respectively, pushing the Company from $50 million in net income for the fourth quarter of 2022 to

a $15 million net loss for the first six months of 2023. As a result of these subsequent disclosures,

the price of GrafTech stock fell to less than $4 per share by mid-August 2023. The price of

GrafTech stock continued to fall thereafter, eventually dropping as low as $1.50.

        38.     As a result of defendants’ wrongful acts and omissions, and the significant decline in

the market value of GrafTech common stock, plaintiff and other Class members (defined below)

have suffered significant losses and economic damages under the federal securities laws.

            DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
       STATEMENTS AND OMISSIONS ISSUED DURING THE CLASS PERIOD

        39.     The Class Period begins on February 8, 2019. On that date, GrafTech issued a press

release disclosing the Company’s financial results for the fourth quarter and year ended December

31, 2018 (“4Q18 Release”). The 4Q18 Release emphasized GrafTech’s manufacturing facilities,

stating that the Company’s plants “operated at high levels throughout 2018.” The 4Q18 Release

reported production volume of 51 thousand and 179 thousand megatons (“MT”) for the quarter and

full year, respectively.

        40.     Also on February 8, 2019, GrafTech held a conference call with analysts to discuss

the Company’s financial and operational results for the fourth quarter and full year. During his

prepared remarks, defendant Rintoul highlighted the purportedly “more resilient and

environmentally friendly EAF steelmaking business model” of GrafTech’s customers.

        41.     On February 22, 2019, GrafTech filed with the SEC its annual report on Form 10-K

for the year ended December 31, 2018 (“2018 Form 10-K”), which was signed by defendants

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Rintoul and Coburn. The 2018 Form 10-K highlighted the purportedly “environmentally friendly

nature” of the EAF steelmaking employed by GrafTech’s customers. The 2018 Form 10-K similarly

stated that as “a result of the increasing global availability of steel scrap and the more resilient,

high‑variable cost and environmentally friendly EAF model, we expect EAF producers to continue

to grow at a faster rate than BOF producers globally.” The 2018 Form 10-K represented that

GrafTech was in compliance with all applicable environmental laws and regulations in its

manufacturing processes, stating: “We believe that we are currently in compliance in all material

respects with the federal, state, local and foreign environmental laws and regulations to which we are

subject.”

       42.     Similarly, the 2018 Form 10-K stated that GrafTech “manage[s] [its] capital

expenditures by taking into account quality, plant reliability, safety, environmental and regulatory

requirements,” among other factors. The 2018 Form 10-K also represented that the Company has an

“on‑going commitment to rigorous internal environmental protection standards.” The 2018 Form

10-K further stated that “[e]nvironmental considerations are part of all significant capital expenditure

decisions.”

       43.     Under a heading titled “Competitive strengths,” the 2018 Form 10-K highlighted

GrafTech’s “lowest cost large-scale” manufacturing plants, which included the Monterrey facility,

stating in pertinent part as follows:

               We believe our facilities are among the most strategically located and
       lowest cost large‑scale graphite electrode manufacturing plants in the world. Of
       the graphite electrode manufacturing facilities currently operating outside of China,
       we estimate that our three operating manufacturing facilities represent approximately
       24% of estimated production capacity for graphite electrodes, making us a critical
       supplier to global EAF steel manufacturers. Our manufacturing facilities are
       located in the Americas and EMEA, providing us with access to low‑cost and
       reliable energy sources, logistical and freight advantages in sourcing raw materials
       and shipping our graphite electrodes to our customers compared to our
       competitors, and excellent visibility into the large North American and European
       EAF steelmaking markets.


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       44.     In addition, the 2018 Form 10-K highlighted the “cost advantages” GrafTech enjoyed

from its Monterrey facility, stating in pertinent part as follows:

               Our manufacturing facilities significantly benefit from their size and scale,
       work force flexibility, access to attractively‑priced sources of power and other key
       raw materials, and our substantial vertical integration with Seadrift. By operating
       three of the five highest capacity graphite electrode production facilities in the world,
       we are able to achieve meaningful operating leverage relative to our competitors.
       Because of the attractive cost of labor available to our Monterrey facility, we
       believe we have a significant cost advantage in the production of pins, which are
       used to connect and fasten graphite electrodes together in a furnace and are more
       labor‑intensive to produce than other graphite electrodes. Our Calais, Pamplona
       and Monterrey facilities have access to low‑cost sources of electricity, a significant
       element of our manufacturing costs.

                                          *       *       *

               Moreover, our Seadrift, Calais, Pamplona, Monterrey and St. Marys facilities
       each provide unique advantages for us. . . . We also believe that Calais, Pamplona
       and Monterrey are three of the five highest capacity graphite electrode facilities in
       the world (excluding China), allowing for significant operating leverage. We believe
       our facilities have significant cost advantages given their scale and access to low
       cost, reliable energy sources

       45.     On May 1, 2019, GrafTech issued a press release disclosing the Company’s financial

results for the quarter ended March 31, 2019 (“1Q19 Release”). The 1Q19 Release reported

production volume of 48 thousand MT for the quarter.

       46.     That same day, GrafTech filed with the SEC a quarterly report on Form 10-Q for the

quarter ended March 31, 2019 (“1Q19 Form 10-Q”), which was signed by defendants Rintoul and

Coburn. The 1Q19 Form 10-Q reported that “[o]n March 1, 2019, the Department of Sustainable

Development of the State of Nuevo León provided notice of an administrative proceeding with

respect to the Company’s Monterrey facility,” which required the “Company to design and

implement certain corrective measures involving certain potential violations of state environmental

law relating to emissions.” The 1Q19 Form 10-Q represented that GrafTech was “cooperating with

the Department” with respect to the administrative proceeding. The 1Q19 Form 10-Q claimed that



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GrafTech “manage[s] [its] capital expenditures by taking into account quality, plant reliability,

safety, environmental and regulatory requirements,” among other factors.

          47.   On July 31, 2019, GrafTech issued a press release disclosing the Company’s financial

results for the quarter ended June 30, 2019 (“2Q19 Release”). The 2Q19 Release reported

production volume of 48 thousand MT for the quarter.

          48.   That same day, GrafTech filed with the SEC a quarterly report on Form 10-Q for the

quarter ended June 30, 2019 (the “2Q19 Form 10-Q”), which was signed by defendants Rintoul and

Coburn. The 2Q19 Form 10-Q reported that “[o]n March 1, 2019, the Department of Sustainable

Development of the State of Nuevo León provided notice of an administrative proceeding with

respect to the Company’s Monterrey facility,” which required the “Company to design and

implement certain corrective measures involving certain potential violations of state environmental

law relating to emissions.” The 2Q19 Form 10-Q represented that GrafTech was “cooperating with

the Department” with respect to the administrative proceeding. The 2Q19 Form 10-Q stated that

GrafTech “manage[s] [its] capital expenditures by taking into account quality, plant reliability,

safety, environmental and regulatory requirements,” among other factors.

          49.   Also on July 31, 2019, GrafTech held a conference call with analysts to discuss the

Company’s financial and operational results for second quarter of fiscal 2019. During his prepared

remarks, defendant Rintoul touted the EAF steelmaking methods employed by GrafTech’s

customers, claiming that it was “advantaged” given its “environmental efficiency,” among other

things.

          50.   On November 7, 2019, GrafTech issued a press release disclosing the Company’s

financial results for the quarter ended September 30, 2019 (“3Q19 Release”). The 3Q19 Release

reported production volume of 40 thousand MT for the quarter. The 3Q19 Release represented that




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GrafTech was initiating a series of projects at its Monterrey Facility that were expected to

“improv[e] environmental performance,” stating in pertinent part as follows:

                GrafTech has begun a series of projects at our Monterrey and St. Marys
       facilities that will shift graphitization and machining of additional volume of semi-
       finished product from Monterrey to St. Marys. We expect these projects will further
       optimize our manufacturing footprint by improving environmental performance
       and production flexibility at both facilities and also leverage cost efficiencies at St.
       Marys.

       51.     That same day, GrafTech filed with the SEC a quarterly report on Form 10-Q for the

quarter ended September 30, 2019 (“3Q19 Form 10-Q”), which was signed by defendants Rintoul

and Coburn. The 3Q19 Form 10-Q represented that GrafTech was improving its environmental

performance by conducting a series of operational projects, stating that: “We have announced a

series of operational improvement projects at our Monterrey and St. Marys facilities. These projects

are intended to help optimize our manufacturing footprint while improving environmental

performance and increasing production flexibility.” The 3Q19 Form 10-Q reported that “[o]n

March 1, 2019, the Department of Sustainable Development of the State of Nuevo León provided

notice of an administrative proceeding with respect to the Company’s Monterrey facility,” which

required the “Company to design and implement certain corrective measures involving certain

potential violations of state environmental law relating to emissions.” The 3Q19 Form 10-Q

represented that GrafTech had “cooperated with the Department” with respect to the proceeding, and

that GrafTech made “payment of certain fines that were not material to the Company.” The 3Q19

Form 10-Q also reported that, in September 2019, “the Department of Sustainable Development

formally closed the proceeding.”

       52.     Also on November 7, 2019, GrafTech held a conference call with analysts to discuss

the Company’s financial and operational results for the third quarter of 2019. During his prepared

remarks, defendant Rintoul reiterated the “improving environmental performance” at GrafTech’s

Monterrey facility as a result of the “series of operational improvements” the Company was

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undertaking. Defendant Coburn similarly emphasized that “we will continue to invest in the health,

safety and environmental performance.” Defendant Rintoul claimed that the EAF steelmaking

method employed by GrafTech’s customers was “advantaged relative to integrated mills” due to its

“better environmental performance,” among other things.

       53.      On February 6, 2020, GrafTech issued a press release disclosing the Company’s

financial results for the fourth quarter and year ended December 31, 2019 (the “4Q19 Release”).

The 4Q19 Release reported production volume of 41 thousand and 177 thousand MT for the quarter

and full year, respectively.

       54.      On that same day, GrafTech hosted a conference call with analysts to discuss the

Company’s financial and operational results for the fourth quarter and fiscal year 2019. Defendant

Coburn emphasized that “we will continue to invest in health, safety and environmental

performance.”    Defendant Rintoul claimed that the EAF steelmaking method employed by

GrafTech’s customers was “advantaged relative to integrated mills” due to its “better environmental

performance,” among other things.

       55.      On February 21, 2020, GrafTech filed with the SEC its annual report on Form 10-K

for the year ended December 31, 2019 (“2019 Form 10-K”), which was signed by defendants

Rintoul and Coburn. The 2019 Form 10-K highlighted the purportedly “environmentally friendly

nature” of the EAF steelmaking employed by GrafTech’s customers. The 2019 Form 10-K similarly

stated that as “a result of the increasing global availability of steel scrap and the more resilient,

high‑variable cost and environmentally friendly EAF model, we expect EAF producers to continue

to grow at a faster rate than blast oxygen furnace (‘BOF’) producers globally.” The 2019 Form 10-K

represented that GrafTech was in compliance with all applicable environmental laws and regulations

in its manufacturing processes, stating: “We believe that we are currently in compliance in all




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material respects with the federal, state, local and foreign environmental laws and regulations to

which we are subject.”

       56.     Similarly, the 2019 Form 10-K stated that GrafTech “manage[s] [its] capital

expenditures by taking into account quality, plant reliability, safety, environmental and regulatory

requirements,” among other factors. The 2019 Form 10-K also represented that the Company has an

“on‑going commitment to rigorous internal environmental protection standards.” The 2019 Form

10-K further stated that “[e]nvironmental considerations are part of all significant capital expenditure

decisions.”

       57.     Under a heading titled “Competitive strengths,” the 2019 Form 10-K touted

GrafTech’s “lowest cost large-scale” manufacturing plants, stating in pertinent part as follows:

                We believe our facilities are among the most strategically located and
       lowest cost large‑scale graphite electrode manufacturing plants in the world. Of
       the graphite electrode manufacturing facilities currently operating, we estimate that
       our three primary operating manufacturing facilities represent approximately 24% of
       estimated production capacity for graphite electrodes outside of China, making us a
       critical supplier to global EAF steel manufacturers. Our manufacturing facilities
       are located in the Americas and EMEA, providing us with access to low‑cost and
       reliable energy sources, logistical and freight advantages in sourcing raw materials
       and shipping our graphite electrodes to our customers compared to our
       competitors, and excellent visibility into the large North American and European
       EAF steelmaking markets.

       58.     The 2019 Form 10-K pointed to GrafTech’s restructuring actions and associated cost

reductions, which the 2019 Form 10-K claimed resulted in “the industry’s most efficient production

platform of high production capacity assets,” stating in pertinent part as follows:

               Over the . . . past decade, we have rationalized inefficient plants during the
       downturn and more recently completed a manufacturing footprint optimization
       program, which resulted in our ability to produce a greater quantity of graphite
       electrodes from our three primary operating facilities than we did from the six
       operating facilities we had in 2012. We believe that the optimization of our graphite
       electrode plant network will continue to drive improved fixed cost absorption.
       Moreover, our Calais, Pamplona, Monterrey and St. Marys facilities each provide
       unique cost advantages given their scale and access to low cost, reliable energy
       sources.


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       59.     The 2019 Form 10-K continued:

               Our current facilities are modern, strategically located and
       well‑maintained, providing us with ample operational optimization capabilities. In
       2018, we completed the expansion of our production capacity by approximately
       20%, to 202,000 MT, through strategic capital investments and operational
       improvements. As a result of our prior operational improvement activities, we are
       able to achieve this large capacity increase with specific, highly targeted capital
       investments. These expansions will provide additional fixed cost absorption and
       drive further efficiencies of scale across our manufacturing base.

       60.     In addition, the 2019 Form 10-K highlighted the “cost advantages” GrafTech enjoyed

from its Monterrey facility, stating in pertinent part as follows:

               Our manufacturing facilities significantly benefit from their size and scale,
       work force flexibility, access to attractively‑priced sources of power and other key
       raw materials, and our substantial vertical integration with Seadrift. Our Calais,
       Pamplona, Monterrey and St. Marys facilities have access to low‑cost sources of
       electricity with essential logistical infrastructure in place, which is a significant
       element of our manufacturing costs.

       61.     The 2019 Form 10-K disclosed that GrafTech was initiating a series of “projects” at

its Monterrey Facility that were expected to “improve environmental performance,” stating in

pertinent part as follows:

       We have recently begun a series of projects at our Monterrey and St. Marys facilities
       that will shift graphitization and machining of additional volume of semi-finished
       product from Monterrey to St. Marys. We expect these projects will further
       optimize our manufacturing footprint by improving environmental performance
       and production flexibility at both facilities and also leverage cost efficiencies at St.
       Marys facility.

       62.     On May 6, 2020, GrafTech issued a press release disclosing the Company’s financial

results for the quarter ended March 31, 2020 (“1Q20 Release”). The 1Q20 Release reported

production volume of 33 thousand MT for the quarter. The 1Q20 Release emphasized that “[g]lobal

warming and other environmental concerns” were “critical issues” facing society, and claimed that

GrafTech was “well positioned” to navigate the COVID-19 pandemic because it had the “most

efficient and largest graphite electrode plants in the world,” stating in pertinent part as follows:

       Global warming and other environmental concerns are critical issues facing society
       and global companies, and the EAF steelmakers are among the largest recycling
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       industries in the world. EAF steel making produces 75% less carbon emissions than
       traditional blast oxygen furnace steel making. EAF growth is continuing with
       significant capacity additions having been announced.

               GrafTech is one of the largest graphite electrode producers in the world and a
       mission critical supplier to the EAF industry. We have three of the most efficient
       and largest graphite electrode plants in the world and are the only substantially
       vertically integrated producer. With this backdrop, and the decisive actions we have
       taken to manage through the COVID-19 pandemic, we are well positioned to weather
       this downturn.

       63.     That same day, GrafTech filed with the SEC a quarterly report on Form 10-Q for the

quarter ended March 31, 2020 (“1Q20 Form 10-Q”), which was signed by defendants Rintoul and

Coburn. The 1Q20 Form 10-Q contained statements that were substantially identical to those made

in the 1Q20 Release as detailed in ¶62. In addition, the 1Q20 Form 10-Q stated that GrafTech

“manage[s] [its] capital expenditures by taking into account quality, plant reliability, safety,

environmental and regulatory requirements,” among other factors.

       64.     Also on May 6, 2020, GrafTech held a conference call with analysts to discuss the

Company’s financial and operational results for the first quarter of 2020. During his prepared

remarks, defendant Rintoul emphasized that “[g]lobal warming [was] a critical issue facing steel

companies” and represented that “EAF production yields 75% less carbon emissions than traditional

blast furnace production.”

       65.     On August 6, 2020, GrafTech issued a press release disclosing the Company’s

financial results for the quarter ended June 30, 2020 (“2Q20 Release”). The 2Q20 Release claimed

that the “environmental and economic attributes” of the “Electric Arc Furnace and graphite electrode

businesses” were “key advantages” for the graphite electrode industry, of which GrafTech was a

part. The 2Q20 Release stated that GrafTech was “well positioned” to navigate the challenges it

faced due in part to its “advantaged cost position.”

       66.     That same day, GrafTech filed with the SEC a quarterly report on Form 10-Q for the

quarter ended June 30, 2020 (“2Q20 Form 10-Q”), which was signed by defendants Rintoul and

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Coburn. The 2Q20 Form 10-Q contained statements that were substantially identical to those made

in the 2Q20 Release as detailed in ¶65. In addition, the 2Q20 Form 10-Q stated that GrafTech

“manage[s] [its] capital expenditures by taking into account quality, plant reliability, safety,

environmental and regulatory requirements,” among other factors.

        67.     Also on August 6, 2020, GrafTech held a conference call with analysts to discuss the

Company’s financial and operational results for the second quarter of 2020. During his prepared

remarks, defendant Rintoul emphasized that the “environmental advantages” of the EAF industry

placed GrafTech in a “strong position” to achieve long-term growth, stating in pertinent part as

follows:

                Additionally, environmental considerations will continue to become an
        increasingly critical issue facing industrial companies. And the EAF production
        yields 75% less carbon emissions than traditional blast furnace type operations.
        These economic, operational and environmental advantages put the EAF industry in
        a strong position to weather this downturn in the short run and to achieve continued
        solid growth over the long term.

        68.     On September 16, 2020, GrafTech published its inaugural sustainability report (“2019

Sustainability Report”). The 2019 Sustainability Report represented that the publication symbolized

an “important step towards demonstrating our commitment to transparency regarding

environmental, social, and governance topics.” The 2019 Sustainability Report further claimed that

GrafTech was “proactively” taking steps to address its environmental impacts, stating in pertinent

part as follows:

               As a manufacturer of graphite electrodes, we are cognizant of our impacts on
        the environment. From energy consumption and air emissions to water use and
        waste handling, we proactively take steps to reduce these impacts throughout our
        operations.

        69.     The 2019 Sustainability Report represented that GrafTech was “focused” on reducing

air emissions and dust around its manufacturing plants, including specifically at its Monterrey

facility, stating in pertinent part as follows:


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               To reduce emissions, we have installed control technology on our
       equipment, which limits the amount of air emissions that enter the environment.
       In coordination with our sites, our HS&EP and Technology Teams look for and
       evaluate new and innovative ways to reduce our emissions. Reducing air emissions
       may come from a variety of activities, including changes and upgrades in processes;
       upgrading and adding control equipment (dust collectors and SO2 abatement
       systems); and increased preventative maintenance programs. GrafTech has also
       focused on improving the housekeeping around our plants to further reduce dirt and
       dust. In Monterrey, a new dust collector was installed for our bake process and a
       new material transport system was installed for moving raw materials from storage
       to the processing area.

       70.     The 2019 Sustainability Report disclosed that GrafTech was initiating a series of

“projects” at its Monterrey facility that were expected to “further optimize” its environmental

impact, stating in pertinent part as follows:

                GrafTech recently began a series of projects at our Monterrey and St. Marys
       facilities that will shift graphitization and machining of additional volume of semi-
       finished product from Monterrey to St. Marys. We expect these projects will further
       optimize our manufacturing footprint by improving environmental performance
       and production flexibility at both facilities, as well as leverage cost efficiencies at
       our St. Marys facility.

       71.     On November 3, 2020, GrafTech issued a press release disclosing the Company’s

financial results for the quarter ended September 30, 2020 (“3Q20 Release”). The 3Q20 Release

reported production volumes of 32 thousand MT for the quarter. The 3Q20 Release claimed that the

“environmental and economic advantages of electric arc furnace steel production position[ed]” the

“graphite electrode industry for continued long-term growth.” The 3Q20 Release also represented

that GrafTech’s purportedly “advantaged low cost structure” was a “sustainable” competitive

advantage.

       72.     That same day, GrafTech filed with the SEC a quarterly report on Form 10-Q for the

quarter ended September 30, 2020 (“3Q20 Form 10-Q”), which was signed by defendants Rintoul

and Coburn. The 3Q20 Form 10-Q contained statements that were substantially identical to those

made in the 3Q20 Release as detailed in ¶71. In addition the 3Q20 Form 10-Q, stated that GrafTech



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“manage[s] [its] capital expenditures by taking into account quality, plant reliability, safety,

environmental and regulatory requirements,” among other factors.

       73.     Also on November 3, 2020 GrafTech held a conference call with analysts to discuss

the Company’s financial and operational results for the third quarter of 2020. During his prepared

remarks, defendant Rintoul claimed that GrafTech was focused “on being good environmental

stewards” and that they were “fully committed” to advancing their “ESG efforts.” In addition,

defendant Rintoul represented that GrafTech was “well positioned” given the Company’s “low-cost

structure” which purportedly represented a “sustainable and long-term” competitive advantage.

Defendant Rintoul represented that they were “proud of [their] inaugural sustainability report” and

that they were “fully committed to [those] efforts across [the] organization.”

       74.     On November 10, 2020, GrafTech filed with the SEC a Prospectus Supplement on

Form 424B7 (the “November 2020 Prospectus”).             The November 2020 Prospectus touted

GrafTech’s “low-cost” graphite electrode manufacturing facilities, stating in pertinent part as

follows:

       We believe that we have the most competitive portfolio of low-cost graphite
       electrode manufacturing facilities in the industry, including three of the highest
       capacity facilities in the world. We are the only large scale graphite electrode
       producer that is substantially vertically integrated into petroleum needle coke, a key
       raw material for graphite electrode manufacturing. This unique position provides us
       with competitive advantages in product quality and cost.

       75.     On December 16, 2020, GrafTech filed with the SEC a Prospectus Supplement on

Form 424B7 (the “December 2020 Prospectus”). The December 2020 Prospectus touted GrafTech’s

“low-cost ultra-high power” graphite electrode manufacturing facilities, stating in pertinent part as

follows:

       We believe that we have the most competitive portfolio of low-cost graphite
       electrode manufacturing facilities in the industry, including three of the five highest
       capacity facilities in the world (excluding China). We are the only large scale
       graphite electrode producer that is substantially vertically integrated into petroleum
       needle coke, the primary raw material for graphite electrode manufacturing, which is

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       currently in limited supply. This unique position provides us with competitive
       advantages in product quality and cost.

       76.     The December 2020 Prospectus also highlighted GrafTech’s restructuring activities,

and reported that the Company had begun a series of projects at its Monterrey facility that were

expected to improve its “environmental performance,” stating in pertinent part as follows:

       In 2018, we completed an operational improvement and debottlenecking initiative to
       increase production capacity at our three primary operating facilities in Calais,
       France, Pamplona, Spain, and Monterrey, Mexico, by approximately 20% to a total
       of 202,000 metric tons (“MT”). We have begun a series of projects at our
       Monterrey and St. Marys facilities that will shift graphitization and machining of
       additional volume of semi-finished product from Monterrey to St. Marys. We expect
       these projects will further optimize our manufacturing footprint by improving
       environmental performance and production flexibility at both facilities and also
       leverage cost efficiencies at our St. Marys facility.

(Footnote omitted.)

       77.     Substantially similar statements as detailed in ¶¶75-76 were included in prospectus

supplements that GrafTech filed with the SEC on Form 424B7 on January 19, 2021, March 3, 2021,

and May 26, 2021.

       78.     On February 5, 2021, GrafTech issued a press release disclosing the Company’s

financial results for the fourth quarter and year ended December 31, 2020 (“4Q20 Release”). The

4Q20 Release quoted defendant Rintoul who claimed that the “‘environmental and economic

advantages of electric arc furnace steel production position[ed]’” the “‘graphite electrode industry

for long-term growth.’” The 4Q20 Release further quoted defendant Rintoul who represented that

GrafTech’s “‘advantaged low-cost structure’” was a “‘sustainable’” competitive advantage.

       79.     That same day, GrafTech held a conference call with analysts to discuss the

Company’s financial and operational results for the fourth quarter and full year 2020. During his

prepared remarks, defendant Rintoul touted GrafTech’s “sustainability strategy” which he claimed

was “centered on improving [their] environmental footprint,” and encompassed a wide range of



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activities, including “greenhouse gas emissions” and “air quality,” stating in pertinent part as

follows:

       The steering committee oversees our sustainability strategy, which compromises –
       or comprises rather, of employee health and safety, community relations, materials
       sourcing and efficiency, energy management, greenhouse gas emissions, air quality,
       water and wastewater management and waste management. The strategy
       encompasses activities as varied as our community involvement and outreach in
       Monterrey, Mexico, our capture of energy generated at our Seadrift Coke facility to
       create additional sources of electricity for the area and our emission reduction efforts
       that include the installation of control technology on equipment on all of our sites.
       Our goals are centered on improving our environmental footprint across our
       operations. We are working hard to be good corporate citizens in the communities
       where we operate. And every day, our business decisions and actions are guided by
       our code of conduct and ethics. We look forward to continuing our ESG dialogue
       with you and publishing our second annual sustainability report later this year.

       80.     An earnings presentation used throughout the conference call further represented that

GrafTech was “being proactive to improve [the Company’s] environmental footprint.”

       81.     In addition, defendant Rintoul touted GrafTech’s “low-cost structure” and claimed

that the Company was “well positioned” as a result of its purportedly “sustainable and long-term”

competitive advantage.

       82.     On February 23, 2021, GrafTech filed with the SEC its annual report on Form 10-K

for the year ended December 31, 2020 (“2020 Form 10-K”), which was signed by defendants

Rintoul and Coburn. The 2020 Form 10-K highlighted the purportedly “environmentally friendly

nature” of the EAF steelmaking employed by GrafTech’s customers. The 2020 Form 10-K similarly

stated that as “a result of the increasing global availability of steel scrap and the more resilient,

high‑variable cost and environmentally friendly EAF model, we expect EAF producers to continue

to grow at a faster rate than blast oxygen furnace (‘BOF’) producers globally.” The 2020 Form 10-K

represented that GrafTech was in compliance with all applicable environmental laws and regulations

in its manufacturing processes, stating: “We believe that we are currently in compliance in all




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material respects with the federal, state, local and foreign environmental laws and regulations to

which we are subject.”

       83.     Similarly, the 2020 Form 10-K stated that GrafTech “manage[s] [its] capital

expenditures by taking into account quality, plant reliability, safety, environmental and regulatory

requirements,” among other factors. The 2020 Form 10-K also represented that the Company has an

“on‑going commitment to rigorous internal environmental protection standards.” The 2020 Form

10-K further stated that “[e]nvironmental considerations are part of all significant capital expenditure

decisions.”

       84.     Under a heading titled “Competitive strengths,” the 2020 Form 10-K touted

GrafTech’s “lowest cost, large-scale” manufacturing plants, stating in pertinent part as follows:

                We believe our facilities are among the most strategically located and
       lowest cost, large‑scale graphite electrode manufacturing plants in the world. Of
       the graphite electrode manufacturing facilities currently operating, we estimate that
       our three primary operating manufacturing facilities represent approximately a
       quarter of estimated production capacity for graphite electrodes outside of China,
       making us a critical supplier to global EAF steel manufacturers. Our manufacturing
       facilities are located in the Americas and EMEA, providing us with access to
       low‑cost and reliable energy sources, logistical and freight advantages in sourcing
       raw materials and shipping our graphite electrodes to our customers compared to
       our competitors, and excellent visibility into the large North American and European
       EAF steelmaking markets.

       85.     The 2020 Form 10-K pointed to GrafTech’s restructuring actions and associated cost

reductions, which the 2020 Form 10-K claimed resulted in “the industry’s most efficient production

platform of high production capacity assets,” stating in pertinent part as follows:

               Over the past decade, we have rationalized inefficient plants during the
       downturn and more recently completed a manufacturing footprint optimization
       program. We believe that the optimization of our graphite electrode plant network
       will continue to drive improved fixed cost absorption. Moreover, our Calais,
       Pamplona, Monterrey and St. Marys facilities each provides unique cost advantages
       given its scale and access to low cost, reliable energy sources.

       86.     In addition, the 2020 Form 10-K highlighted the cost advantages GrafTech enjoyed

from its Monterrey facility, stating in pertinent part as follows:

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               Our manufacturing facilities significantly benefit from their size and scale,
       work force flexibility, access to attractively-priced sources of power and other key
       raw materials, and our substantial vertical integration with Seadrift. Our Calais,
       Pamplona, Monterrey and St Marys facilities have access to low-cost sources of
       electricity with essential logistical infrastructure in place, which is a significant
       element of our manufacturing costs.

       87.     The 2020 Form 10-K disclosed that GrafTech had begun a series of “projects” at its

Monterrey facility that were expected to “improve environmental performance,” stating in pertinent

part as follows:

       We have begun a series of projects at our Monterrey and St. Marys facilities that will
       shift graphitization and machining of additional volume of semi-finished product
       from Monterrey to St. Marys. We expect these projects will further optimize our
       manufacturing footprint by improving environmental performance and production
       flexibility at both facilities and also leverage cost efficiencies at our St. Marys
       facility. We believe that our business has the lowest manufacturing cost structure of
       all our major competitors, primarily due to the large scale of our manufacturing
       facilities.

       88.     On May 5, 2021, GrafTech issued a press release disclosing the Company’s financial

results for the quarter ended March 31, 2021 (“1Q21 Release”). The 1Q21 Release reported

production volume of 36 thousand MT for the quarter. In addition, the 1Q21 Release touted

GrafTech’s “portfolio of low cost graphite electrode manufacturing facilities” including that the

assets were “three of the highest capacity facilities in the world,” which it claimed provided the

Company with “competitive advantages in product quality and cost.”

       89.     That same day, GrafTech filed with the SEC a quarterly report on Form 10-Q for the

quarter ended March 31, 2021 (“1Q21 Form 10-Q”), which was signed by defendants Rintoul and

Coburn. The 1Q21 Form 10-Q reported production volume of 36 thousand MT for the quarter. The

1Q21 Form 10-Q touted GrafTech’s “low cost structure” as a purported “sustainable” competitive

advantage. In addition, the 1Q21 Form 10-Q stated that GrafTech “manage[s] [its] capital

expenditures by taking into account quality, plant reliability, safety, environmental and regulatory

requirements,” among other factors.


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       90.     Also on May 5, 2021, GrafTech held a conference call with analysts to discuss the

Company’s financial and operational results for the first quarter of 2021. In connection with the

conference call, GrafTech released an earnings presentation, which was referenced throughout the

conference call. The earnings presentation claimed GrafTech was being “proactive to improve [the

Company’s] environmental footprint,” including by “upgrading manufacturing equipment.”

Included within the earning presentation was the following graphic:




       91.     During the call, defendant Rintoul claimed the graphic represented GrafTech’s

“constant focus” on “safety, environment, [and] quality” and that “SEQ” was a “core mission” for

the Company. Defendant Rintoul represented that GrafTech was “well positioned” given the

Company’s “low-cost structure” which purportedly represented a “sustainable and long-term”

competitive advantage.

       92.     On August 6, 2021, GrafTech issued a press release disclosing the Company’s

financial results for the quarter ended June 30, 2021 (“2Q21 Release”). The 2Q21 Release reported

production volume of 44 thousand MT for the quarter. The 2Q21 Release highlighted GrafTech’s

“low-cost, ultra-high power graphite electrode manufacturing facilities” including that the assets

were “three of the highest capacity facilities in the world,” which it claimed provided the Company

with “competitive advantages in product quality and cost.”


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       93.     That same day, GrafTech filed with the SEC a quarterly report on Form 10-Q for the

quarter ended June 30, 2021 (the “2Q21 Form 10-Q”), which was signed by defendants Rintoul and

Coburn. The 2Q21 Form 10-Q touted GrafTech’s “low cost structure” as a purported “sustainable”

competitive advantage. In addition, the 2Q21 Form 10-Q stated that GrafTech “manage[s] [its]

capital expenditures by taking into account quality, plant reliability, safety, environmental and

regulatory requirements,” among other factors. The 2Q21 Form 10-Q also reported production

volume of 44 thousand MT for the second quarter.

       94.     Also on August 6, 2021, GrafTech held a conference call with analysts to discuss the

Company’s financial and operational results for the second quarter of 2021. During his prepared

remarks, defendant Halford pointed to the “good progress” GrafTech was making on its ESG efforts,

stating in pertinent part as follows:

       We continue to make good progress with our ESG efforts along several pads.
       Notably, in the second quarter, we completed a full materiality assessment with the
       assistance of external experts to identify and prioritize the key ESG issues for our
       business and our stakeholders. The process allowed us to objectively determine the
       ESG topics that will drive our sustainability strategy, reporting and actions moving
       forward.

               The assessment included peer and industry benchmarking, a robust series of
       interviews with internal and external stakeholders and a full validation of the
       assessment by our executive team.

       95.     An earnings presentation used during the conference call claimed that GrafTech was

setting “[s]ustainability” goals to “drive performance” on the Company’s ESG initiatives and

highlighted recent actions undertaken at the Company’s Monterrey facility, as depicted in the

following slide:




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       96.    Defendant Rintoul highlighted the environmental benefits of the EAF industry

compared to traditional steel producers and represented that GrafTech was “committed” to helping

the EAF industry “further advance these sustainability initiatives,” stating in pertinent part as

follows:

               We have an enviable customer base comprising of the lowest cost producers
       of steel where some of the largest recyclers in the world, producing steel with 75%
       less carbon emissions compared to traditional integrated steel producers. And the
       EAF steel industry is committed to taking their leadership and sustainable steel
       production even further, innovating to increase efficiency, reduce greenhouse gas
       emissions and reinforce material reuse and recycling.

               As we look forward, we are committed to helping our industry further
       advance these sustainability initiatives. From its leading position, we expect the
       EAF and steel industry growth to continue to outpace global GDP over the long term,
       positioning our products for solid long-term growth.

       97.    Defendant Rintoul also represented that GrafTech was “well positioned” given the

Company’s “low-cost structure” which purportedly represented a “sustainable and long-term”

competitive advantage.

       98.    On September 23, 2021, GrafTech published its 2020 Sustainability Report (the

“2020 Sustainability Report”). Included within the 2020 Sustainability Report was a “message”

from defendant Rintoul, which claimed that GrafTech was “committed” to improving its
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environmental footprint and emphasized the progress the Company was purportedly making at its

Monterrey facility, stating in pertinent part as follows:

        As you will read about further in this report, we are committed to improving our
        environmental footprint. We continue to monitor and track our progress on energy
        consumption and air emissions to identify opportunities for improvements. During
        2020, at our Monterrey, Mexico facility, we continued to implement projects
        focused on controlling emissions, such as installation of new dust collection systems
        and upgrades to our mill, mix and forming, and baking operations to enhance our air
        emission controls.

        99.     Under a heading titled “Environment,” the 2020 Sustainability Report claimed

GrafTech had conducted “extensive work” to better understand its environmental footprint and

claimed that it was “committed to the protection of our communities and environment.”

        100.    The 2020 Sustainability Report featured GrafTech’s Monterrey facility in a

“Spotlight” which highlighted the Company’s purportedly broad based commitment to “HS&EP”

(Health Safety and Environmental Protection), stating in pertinent part as follows:

                At GrafTech, our employees are actively engaged in efforts to improve
        HS&EP. It is not only acknowledged and communicated as a priority, but it is
        clear in our operations when you visit our sites. Our employees in Monterrey,
        Mexico, are involved in how we translate our health, safety, and environmental
        commitment into practice.

               . . . Our Monterrey team continued their work on housekeeping, improving
        environmental controls and facility upgrades. For example, during 2020, we
        completed construction of a new raw material handling system and improved
        management of our dust collection systems.

        101.    In addition, the 2020 Sustainability Report highlighted the “initiatives” GrafTech had

undertaken across its operations, and specifically at its Monterrey facility, to improve emissions and

air quality, stating in pertinent part as follows:

              Each GrafTech operation has a program that details the standard practices for
        managing and controlling air emissions.

                                           *         *      *

                We have undertaken an initiative to improve critical assets, such as our bake
        and graphitizing furnaces and emission control equipment, with digital controls and
        predictive alerts, to help identify potential issues and mitigate process interruptions.
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       These enhancements are expected to result in improved process efficiency and
       reliability in our operations.

               In Monterrey, we recently invested in automated controls, which maintain
       temperatures in the bake furnace thermal oxidizers, resulting in more thorough
       reduction of air emissions from these operations. We modified our bake ovens to
       allow for increased air circulation to reduce accumulation of particulate matter in the
       ovens. Our team in charge of this project meets on a regular basis to report on
       progress.

       102.    On November 5, 2021, GrafTech issued a press release disclosing the Company’s

financial results for the quarter ended September 30, 2021 (“3Q21 Release”). The 3Q21 Release

reported production volume of 39 thousand MT for the quarter. The 3Q21 Release also highlighted

GrafTech’s “low-cost, ultra-high power graphite electrode manufacturing facilities” stating that the

assets were “three of the highest capacity facilities in the world,” which it claimed provided the

Company with “competitive advantages in product quality and cost.”

       103.    That same day, GrafTech filed with the SEC a quarterly report on Form 10-Q for the

quarter ended September 30, 2021 (“3Q21 Form 10-Q”), which was signed by defendants Rintoul

and Coburn. The 3Q21 Form 10-Q touted GrafTech’s “low cost structure” as a purported

“sustainable” competitive advantage. In addition, the 3Q21 Form 10-Q stated that GrafTech

“manage[s] [its] capital expenditures by taking into account quality, plant reliability, safety,

environmental and regulatory requirements,” among other factors. The 3Q21 Form 10-Q reported

production volume of 39 thousand MT for the third quarter.

       104.    Also on November 5, 2021, GrafTech held a conference call with analysts to discuss

the Company’s financial and operational results for the third quarter of 2021. During his prepared

remarks, defendant Halford stated that GrafTech was “pleased with [their] progress” on their ESG

initiatives over the past year and indicated the Company was “continuing to develop [its] longer-

term ESG goals.” Defendant Rintoul also represented that GrafTech was “well positioned” given the

Company’s “low-cost structure” which purportedly represented a “sustainable and long-term”

competitive advantage.
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       105.    On February 4, 2022, GrafTech issued a press release disclosing the Company’s

financial results for the fourth quarter and year ended December 31, 2021 (“4Q21 Release”). The

4Q21 Release reported production volume of 46 thousand MT and 165 thousand MT for the fourth

quarter and full fiscal year, respectively. The 4Q21 Release quoted defendant Rintoul who

highlighted the purported “‘progress’” GrafTech was making on its ESG efforts and noted

GrafTech’s role in helping the environment, stating in pertinent part as follows:

               “We continued to make progress with our ESG efforts including a number of
       projects throughout our manufacturing plants in an effort to minimize our
       environmental footprint. EAF steel production is an effective way to de-carbonize
       the steel making industry and with our product being a mission critical component,
       we are proud of our role in helping the industry and the environment.”

       106.    The 4Q21 Release also highlighted GrafTech’s “portfolio of low-cost, ultra-high

power graphite electrode manufacturing facilities,” stating that the assets were “three of the highest

capacity facilities in the world,” which it claimed provided the Company with “competitive

advantages.”

       107.    Also on February 4, 2022, GrafTech held a conference call with analysts to discuss

the Company’s financial and operational results for the fourth quarter and fiscal year 2021. During

his prepared remarks, defendant Halford highlighted GrafTech’s “enhanced reporting” with respect

to its sustainability initiatives, and represented that GrafTech had completed “several projects,”

including improvements at all of its manufacturing plants “to improve air emissions,” stating in

pertinent part as follows:

       We continue to progress on our ESG journey. In September, we published our
       second annual sustainability report, which is available on our website. Our
       enhanced reporting in this area will not only benefit our stakeholders but will also
       assist us in identifying projects that will improve our environmental impact.

              We’ve already completed several projects in this area. For example, in
       2021, every electrode manufacturing plant completed at least one capital project to
       improve air emissions. We plan to keep up our momentum in this area and have
       already identified additional projects for 2022 that will further advance our
       environmental efforts.

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       108.    Defendant Rintoul also represented that GrafTech was “well positioned” given the

Company’s “low-cost structure” which purportedly represented a “sustainable and long-term”

competitive advantage.

       109.    On February 22, 2022, GrafTech filed with the SEC its annual report on Form 10-K

for the year ended December 31, 2021 (“2021 Form 10-K”), which was signed by defendants

Rintoul and Flanagan. The 2021 Form 10-K highlighted the purportedly “environmentally friendly

nature” of the EAF steelmaking employed by GrafTech’s customers. The 2021 Form 10-K similarly

stated that as “a result of the increasing global availability of steel scrap and the more resilient,

high‑variable cost and environmentally friendly EAF model, we expect EAF steel producers to

continue to grow at a faster rate than blast oxygen furnace (‘BOF’) producers globally.” The 2021

Form 10-K represented that GrafTech was in compliance with all applicable environmental laws and

regulations in its manufacturing processes, stating in pertinent part that “[w]e believe we operate in

compliance in all material respects with applicable laws and regulations.”

       110.    Similarly, the 2021 Form 10-K stated that GrafTech “manage[s] [its] capital

expenditures by taking into account quality, plant reliability, safety, environmental and regulatory

requirements,” among other factors. The 2021 Form 10-K also represented that the Company has an

“on‑going commitment to rigorous internal environmental protection standards.” The 2021 Form

10-K further stated that “[e]nvironmental considerations are part of all significant capital expenditure

decisions.” The 2021 Form 10-K further claimed that GrafTech’s HS&EP Policy governed its

actions and decisions and that it was a top priority, stating:

       Our global Health, Safety and Environmental Protection (“HS&EP”) Policy applies
       to all employees, contractors, and visitors, and governs our actions and decisions
       every day. We also have a Code of Conduct and Ethics for Suppliers and
       Contractors that includes HS&EP guidelines required for doing business with
       GrafTech. GrafTech’s focus on HS&EP is a top priority for all employees.




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       111.    Under a heading titled “Competitive strengths,” the 2021 Form 10-K touted

GrafTech’s “lowest cost, large-scale” manufacturing plants, stating in pertinent part as follows:

                We believe our facilities are among the most strategically located and
       lowest cost, large‑scale graphite electrode manufacturing plants in the world. Of
       the graphite electrode manufacturing facilities currently operating, we estimate that
       our three primary operating manufacturing facilities represent approximately a
       quarter of estimated production capacity for graphite electrodes outside of China,
       making us a critical supplier to global EAF steel manufacturers. Our manufacturing
       facilities are located in the Americas and EMEA, providing us with access to
       low‑cost and reliable energy sources, logistical and freight advantages in sourcing
       raw materials and shipping our graphite electrodes to our customers compared to
       our competitors, and excellent visibility into the large North American and European
       EAF steelmaking markets.

       112.    The 2021 Form 10-K pointed to GrafTech’s restructuring actions and associated cost

reductions, which the 2021 Form 10-K claimed resulted in “the industry’s most efficient production

platform of high production capacity assets,” stating in pertinent part as follows:

               From 2014 to 2016, we rationalized inefficient plants during the downturn
       and more recently completed a manufacturing footprint optimization program. We
       believe that the optimization of our graphite electrode plant network will continue
       to drive improved fixed cost absorption. Moreover, our Calais, Pamplona,
       Monterrey and St. Marys facilities each provides unique cost advantages given its
       scale and access to reliable energy sources.

       113.    In addition, the 2021 Form 10-K highlighted the cost advantages GrafTech enjoyed

from its Monterrey facility, stating in pertinent part as follows:

               Our manufacturing facilities significantly benefit from their size and scale,
       work force flexibility, access to attractively-priced sources of power and other key
       raw materials, and our substantial vertical integration with Seadrift. Our Calais,
       Pamplona, Monterrey and St Marys facilities have access to reliable sources of
       electricity with essential logistical infrastructure in place, which is a significant
       element of our manufacturing costs.

       114.    The 2021 Form 10-K disclosed that in 2021, GrafTech shifted certain work streams at

its Monterrey facility to “improve environmental performance.”

       115.    On May 6, 2022, GrafTech issued a press release disclosing the Company’s financial

results for the quarter ended March 31, 2022 (“1Q22 Release”). The 1Q22 Release reported

production volumes of 46 thousand MT for the quarter. The 1Q22 Release quoted defendant
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Rintoul, who highlighted GrafTech’s continued progress on its sustainability efforts and improved

environmental performance, stating in pertinent part as follows:

                “We are proud of the continued progress we are making with our
       sustainability efforts across the organization. These include capital projects to
       improve our environmental footprint and the establishment of key environmental
       goals, which includes targeting a meaningful reduction in greenhouse gas emissions.
       Electric arc furnaces play a critical role in helping the steel industry reduce its impact
       on the environment and our sustainability initiatives will further strengthen our
       ability to support the decarbonization of steel production.”

       116.    The 1Q22 Release also highlighted GrafTech’s “portfolio of low-cost, ultra-high

power graphite electrode manufacturing facilities” stating that the assets were “three of the highest

capacity facilities in the world,” which it claimed provided the Company with “competitive

advantages.”

       117.    That same day, GrafTech filed with the SEC a quarterly report on Form 10-Q for the

quarter ended March 31, 2022 (“1Q22 Form 10-Q”), which was signed by defendants Rintoul and

Flanagan. The 1Q22 Form 10-Q stated: “We believe that we have the most competitive portfolio of

low‑cost ultra-high power graphite electrode manufacturing facilities in the industry, including

three of the highest capacity facilities in the world.” The 1Q22 Form 10-Q represented that

GrafTech’s low-cost structure was a sustainable competitive advantage, stating: “We believe

GrafTech’s leadership positon, strong cash flows, and advantaged low cost structure and vertical

integration are sustainable competitive advantages.” In addition, the 1Q22 Form 10-Q stated that

GrafTech “manage[s] [its] capital expenditures by taking into account quality, plant reliability,

safety, environmental and regulatory requirements,” among other factors. The 1Q22 Form 10-Q

reported production volume of 46 thousand MT for the first quarter.

       118.    Also on May 6, 2022, GrafTech held a conference call with analysts to discuss the

Company’s financial and operational results for the first quarter of 2022. During his prepared

remarks, defendant Halford claimed that GrafTech was proud of “being a key contributor” to the


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decarbonization of steel and pointed to the “good progress” the Company was making on its own

sustainability initiatives, stating in pertinent part as follows:

        Electric arc furnaces play a critical role in helping the steel industry reduce its impact
        on the environment. And as graphite electrodes are indispensable to the operation
        of electric arc furnaces, we’re proud to be a key part of the solution. EAF
        steelmaking produces 75% less greenhouse gas emissions compared to integrated
        steelmakers. In addition, our business in the EAF industry contributes to a circular
        economy as electrodes facilitate the recycling of steel, as EAFs are the largest steel
        recyclers in the world.

                For these reasons, Green Steel as a critical element to the green economy can
        only be achieved through the ongoing shift to EAF steelmaking, which requires a
        reliable supply of graphite electrodes. As a leader in the electrode industry, these
        dynamics support our positive long-term outlook on our business. We take great
        pride in being a key contributor to the decarbonization of steel.

                In addition to these broader contributions to the steel industry, we also
        continue to make good progress on our own key sustainability initiatives. Most
        recently, we’ve established environmental goals, which will be highlighted in our
        next annual sustainability report. These include a commitment for a meaningful
        reduction in greenhouse gas emissions. To support this objective, we continue to
        invest in capital projects that will further improve our environmental impact.

        119.    During his prepared remarks, defendant Rintoul stated that EAF steelmaking was

advantaged relative to integrated steelmaking due to its “variable cost structure, operational

flexibility, and lower environmental footprint.” Defendant Rintoul continued: “EAFs are more cost-

effective and environmentally friendly process representing an effective way to decarbonize the steel

industry.” Defendant Rintoul also represented that GrafTech was “well positioned” given the

Company’s “low-cost structure” which purportedly represented a “sustainable and long-term”

competitive advantage.

        120.    On August 5, 2022, GrafTech issued a press release disclosing the Company’s

financial results for the quarter ended June 30, 2022 (“2Q22 Release”). The 2Q22 Release reported

production volume of 43.9 thousand MT. The 2Q22 Release highlighted GrafTech’s “competitive

portfolio of low-cost, ultra-high power graphite electrode manufacturing facilities” stating that the



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assets were “three of the highest capacity facilities in the world,” which it claimed provided the

Company with “competitive advantages.”

       121.    That same day, GrafTech filed with the SEC a quarterly report on Form 10-Q for the

quarter ended June 30, 2022 (“2Q22 Form 10-Q”), which was signed by defendants Kessler and

Flanagan. The 2Q22 Form 10-Q claimed that the “environmental and economic advantages of

electric arc furnace steel production position[ed]” the “graphite electrode industry for continued

long-term growth.” The 2Q22 Form 10-Q stated: “We believe that we have the most competitive

portfolio of low‑cost ultra-high power graphite electrode manufacturing facilities in the industry,

including three of the highest capacity facilities in the world.” The 2Q22 Form 10-Q represented

that GrafTech’s low-cost structure was a sustainable competitive advantage, stating that: “We

believe GrafTech’s leadership positon, strong cash flows, and advantaged low cost structure and

vertical integration are sustainable competitive advantages.” In addition, the 2Q22 Form 10-Q

stated that GrafTech “manage[s] [its] capital expenditures by taking into account quality, plant

reliability, safety, environmental and regulatory requirements,” among other factors.

       122.    Also on August, 5, 2022, GrafTech held a conference call with analysts to discuss the

Company’s financial and operational results for the second quarter of 2022. In response to a

question from an analyst, defendant Halford touted the financial benefits stemming from the

Company’s purported “ESG” investments, stating in pertinent part as follows:

               As we go forward, we’re continuously monitoring the underlying economics
       of running those factories and comparing those economics to our ability to command
       price on the selling side. And we’ll make prudent decisions as this progresses and
       we’re selling incremental tons. And so – fortunately, if we go back in time a little
       bit, we’ve really dialed up a lot of our focus on ESG initiatives and in particular,
       the environmental side of things.

               And so we do have some things that we were doing to improve the energy
       efficiency of our facilities around the globe, but I’m talking specifically about
       Europe right now. And some of those investments that we were making primarily
       for environmental purposes, now command or now generate a pretty substantial
       economic return given the price of gas and where it’s going.

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               And so as we think about how we run our factories and how we prioritize our
       business. We expect that as we look into the medium-term, we will start seeing some
       benefit from investments that were initially made more for environmental reasons,
       we’ll now be generating pretty strong financial results for us as well

       123.    The statements referenced in ¶¶39-122 above were materially false and/or misleading

when made because they failed to disclose the following adverse facts pertaining to the Company’s

business, operations, and financial condition, which were known to defendants or recklessly

disregarded by them as follows:

               (a)     that GrafTech’s manufacturing operations in Monterrey, Mexico had for

decades chronically contaminated neighboring communities with harmful carcinogenic gasses and

particulate matter;

               (b)     that GrafTech had signed agreements with local authorities committing itself

to improving the environmental performance of its Monterrey facility, but repeatedly failed to honor

these commitments;

               (c)     that GrafTech had been repeatedly warned over an approximately 30-year

period regarding its wanton disregard for the environment and health and well-being of people near

its operations in Monterrey, Mexico;

               (d)     that GrafTech’s operations in Monterrey, Mexico were not in compliance with

applicable environmental laws and regulations;

               (e)     that the Company had failed to adequately remediate the environmental

problems caused by the Monterrey facility following the 2019 administrative proceeding conducted

by the Department of Sustainable Development of the State of Nuevo León;

               (f)     that the government of Apodaca had sought intervention from the State of

Nuevo León authorities to curtail and prevent the adverse environmental impacts and noncompliance

with environmental laws and regulations caused by the Monterrey facility;



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               (g)       that GrafTech’s purported cost leadership was achieved in substantial part by

failing to implement appropriate and effective environmental safeguards at its manufacturing facility

in Monterrey, Mexico;

               (h)       that GrafTech’s capital expenditures and/or related operational projects were

woefully insufficient to adequately address the harm that the Company’s operations in Monterrey,

Mexico had inflicted on the environment and people within the neighboring communities;

               (i)       that as a result of (a)-(h), GrafTech was acutely exposed to undisclosed

material risks that the Company’s manufacturing operations in Monterrey, Mexico would be

severely disrupted by government action or enforcement; and

               (j)       that as a result of (a)-(i), GrafTech was acutely exposed to undisclosed

material risks that its supplies of pin stock and graphite electrodes would be withdrawn and/or

materially diminished, thereby materially harming the Company’s business, operations, reputation,

and financial results.

       124.    In addition, throughout the Class Period, GrafTech’s periodic financial filings were

required to disclose the adverse facts and circumstances detailed above under applicable SEC rules

and regulations. Specifically, Item 303 of SEC Regulation S-K, 17 C.F.R. §229.303(b)(2)(ii) (“Item

303”), required the Company to “[d]escribe any known trends or uncertainties that have had or that

are reasonably likely to have a material favorable or unfavorable impact on net sales or revenues or

income from continuing operations.” Moreover, Item 105 of Regulation S-K, 17 C.F.R. §229.105

(“Item 105”), required disclosure of “the material factors that ma[d]e an investment in [GrafTech]

speculative or risky” and an explanation of “how [the] risk affecte[d] [GrafTech].” Defendants’

failure to disclose the extent and severity of the adverse environmental impacts of the Monterrey

facility and GrafTech’s failure to comply with applicable environmental laws and regulations

violated Item 303 because these activities represented known trends and uncertainties that were


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likely to have a material unfavorable impact on the Company’s business and financial results.

Furthermore, defendants’ failure violated Item 105, because these adverse facts created significant

risks that were not disclosed even though they were some of the most significant facts that made an

investment in GrafTech speculative or risky.

       125.    Then, on September 16, 2022, GrafTech filed with the SEC a current report on Form

8-K. The current report revealed that GrafTech’s manufacturing facility in Monterrey, Mexico had

been ordered to shut down by regulators following a pair of inspections by the State Attorney’s

office for the Secretary of Environment and the Ministry of the Environment. In the wake of this

revelation, multiple Mexican news outlets reported that the cessation order had been made in

response to GrafTech’s excessive pollution of hazardous carcinogenic gasses and particulate matter

into neighboring communities. For example, a news article published by El Norte stated: “For

launching polluting emissions in Apodaca, the State Government yesterday temporarily closed the

operations of the Graftech company.”

       126.    Following the closure, the mayor of a local municipality, Cesar Garza, celebrated the

shutdown in a video broadcast via Facebook Live and reported that the municipality had voted in

plenary session to formally request that GrafTech’s facility be required to close and relocate, citing

more than 30 years of environmental abuses by the Company. During the broadcast, Garza detailed

GrafTech’s widespread environmental offences, stating: “All of the residents of the modern Apodaca

sector and the city center witness every morning the little dust that fills the apartments, the cars

and that also fills our lungs, unfortunately.” Garza further stated that GrafTech’s operations had

long been recognized as posing a serious health risk to community members, including its children:

“40 years ago, children from the schools here in Apodaca were taken once a year to have their lungs

tested because there was recognition that there was a risk with this company and the dust they threw

onto public roads.” In addition, Garza described that GrafTech had a long history of reneging on


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prior commitments to improve its environmental footprint: “The company always signs agreements

and always says it will solve the problem, but it never does. They never do anything to really

change things.” He continued: “We already gave them 30 years to correct themselves and they

didn’t. We no longer trust that they are going to do it. We want this company to move its operations

and we are willing to listen to a reasonable time frame so that they can emigrate to another place

where they do not have a direct population affect with their carbon emissions.” 2

       127.    On this news, the price of GrafTech common stock fell from $5.30 per share on

September 16, 2022 to $4.61 per share on September 20, 2022, or approximately 13%, on above-

average trading volume. However, the price of GrafTech common stock continued to be artificially

inflated as defendants continued to make material misstatements and omissions and to conceal the

full truth regarding the Company’s business, operations, and financial results.

       128.    On November 4, 2022, GrafTech issued a press release disclosing the Company’s

financial results for the quarter ended September 30, 2022 (the “3Q22 Release”). The 3Q22 Release

provided investors with an update on GrafTech’s operations in Monterrey, Mexico. Specifically, the

3Q22 Release indicated that GrafTech was complying with the suspension notice but disagreed with

the actions taken by the authorities, stating that “[w]hile we are complying with the suspension

notice, we strongly disagree with the course of action taken by the state authorities and will continue

to seek resolution, including a restart of our Monterrey production operations.”

       129.    That same day, GrafTech filed with the SEC a quarterly report on Form 10-Q for the

quarter ended September 30, 2022 (“3Q22 Form 10-Q”), which was signed by defendants Kessler

and Flanagan. The 3Q22 Form 10-Q contained statements that were substantially identical to those

made in the 3Q22 Release as detailed in ¶128.



2
        The Facebook Live broadcast video was transcribed by counsel using Happyscribe.com, then
translated from Spanish to English by Google Translate, and reviewed by a Spanish speaker.

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       130.    In addition, the 3Q22 Form 10-Q represented that the financial impact of the closure

would only significantly impact the Company’s financial results beyond the fourth quarter of 2022 if

the Monterrey plant remained suspended, stating that “[b]eyond the fourth quarter of 2022, if

Monterrey remains suspended, the impact on the Company’s results in the first half of 2023 will be

significant, with sales volume reduced by 50% or more, compared to sales volume in the first half of

2022, before recovering in the back half of the year.”

       131.    Also on November 4, 2022, GrafTech held a conference call with analysts to discuss

the Company’s financial and operational results for the third quarter of 2022. During his prepared

remarks, defendant Kessler told investors that, if the Monterrey plant remained closed, GrafTech’s

business performance would be significantly impacted for the first half of 2023, stating that “unless

Monterrey reopens, our business performance will be significantly impacted for the first 2 quarters

of 2023 with a reduction in sales volume of 50% or more before recovering in the back half of the

year.” Defendant Kessler further advised investors that the financial impact would be less

significant in the near-term but more pronounced in the longer-term if the Monterrey plant remained

closed, stating in pertinent part as follows:

       However, until our Monterrey operations are resumed or our St. Marys facility’s
       operational or other mitigation activities are successfully implemented, our ability to
       fulfill customer orders will be significantly impacted, particularly as we get into the
       next year.

               The impact will be less significant for the fourth quarter as existing pin stock
       inventory is supporting our ability to fulfill most customer needs in the near term.
       For next year, if Monterrey remains suspended, sales volume will be reduced by 50%
       or more in the first half of 2023 compared to the first half of 2022, but will recover
       after that. We expect to be able to meet our LTA commitments throughout 2023.

       132.    During the call, an analyst from RBC Capital Markets inquired directly whether the

reduced production volumes resulting from the non-operation of GrafTech’s Monterrey facility

would impact the Company’s ability to enter into long-term agreements with customers. In

response, defendant Halford assured investors that GrafTech had “absolute confidence” in its ability

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to navigate the suspension of its Monterrey facility and that its commercial strategy of securing long-

term agreements would be unchanged, stating in pertinent part as follows:

               Yes, thanks. It’s an important question, Arun. And one of the things that I
       want to make clear is that while we need to consider the near-term supply constraints
       related to the Monterrey situation, none of this changes our commercial strategy.
       We continue to believe that we are unique in the market in our ability to offer a
       variety of different contracting terms to our customers. [T]hat’s supported by our
       vertical integration, and that’s a key differentiator, our ability to provide that
       certainty to our customers. And while in the very near term, we’re dealing with the
       Monterrey situation, we have absolute confidence in our ability to resolve this
       current environment we’re in, and it’s not changing our commercial strategy at all.

       133.    Subsequently, on November 18, 2022, GrafTech issued a press release disclosing that

GrafTech’s Monterrey facility was conditionally permitted to immediately resume operations

pending the Company’s “completion of certain agreed upon activities,” including the submission of

an environmental impact study regarding the Monterrey facility’s operations (“November 2022

Release”). The November 2022 Release quoted defendant Kessler, who stated that he was “‘pleased

to have received an order that allows for the immediate restart of our operations in Mexico.’”

       134.    The statements referenced in ¶¶128-133 above were materially false and/or

misleading when made because they failed to disclose the following adverse facts pertaining to the

Company’s business, operations, and financial condition, which were known to defendants or

recklessly disregarded by them:

               (a)     that the suspension of GrafTech’s Monterrey facility required the Company to

irreparably deplete its critically needed pin stock inventory;

               (b)     that due to the non-operation of GrafTech’s Monterrey facility, the Company

had lost its ability to reliably supply its customers with graphite electrodes;

               (c)     that as a result of (a)-(b), GrafTech’s ability to enter into long-term

agreements with its customers was materially impaired, rendering its commercial strategy unviable;




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               (d)    that the suspension of activities at GrafTech’s Monterrey facility, and/or the

uncertainty regarding GrafTech’s ability to reliably deliver graphite electrodes, coincided with a

critical negotiation window during which the Company was expecting to secure customer

commitments for the first half of fiscal 2023; and

               (e)    that as a result of (a)-(d), the financial ramifications of the Monterrey facility’s

closure on GrafTech’s financial and business performance in the first half of fiscal 2023 were

substantially more severe than defendants had represented.

       135.    Then, on February 3, 2023, GrafTech issued a press release disclosing the Company’s

financial and operational results for the fourth quarter and full year ended December 31, 2022 (the

“4Q22 Release”). Contrary to prior representations that GrafTech’s business performance would

only be significantly impacted beyond the fourth quarter of 2022 if the Monterrey facility remained

closed, the 4Q22 Release revealed that the temporary closure of the Monterrey facility would have a

“significant” adverse impact on the Company’s business performance in first half of fiscal 2023. In

particular, the 4Q22 Release reported that the suspension of operations at the Monterrey facility

“resulted in uncertainty during a key customer commitment window for customer purchases

covering the first six months of 2023.” As a result, GrafTech slashed its expected sales volume for

the first half of fiscal 2023 by 50% relative to the Company’s sales in fiscal 2022. On the

corresponding conference call, defendant Kessler disclosed that the temporary suspension of

GrafTech’s operations had forced the Company to deplete their on-hand pin stock inventory, which

could not be readily replenished even with the reopening of the Monterrey facility as the

manufacturing time for pin stock took several months. In addition, defendant Kessler explained that

the Company’s ability to secure customer contracts during key contract negotiation window “was

limited” due to the uncertainty surrounding GrafTech’s pin stock inventory.




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       136.    On this news, the price of GrafTech common stock fell from $6.59 per share on

February 2, 2023 to $5.58 per share on February 3, 2023, a decline of approximately 15%, on above-

average trading volume. However, the price of GrafTech common stock continued to be artificially

inflated as the full truth regarding the Company’s business, operations, and financial results

continued to be concealed.

       137.    Then, on April 28, 2023, GrafTech issued a press release disclosing the Company’s

financial and operational results for the quarter ended March 31, 2023 (“1Q23 Release”). The 1Q23

Release disclosed that GrafTech sales declined 62% compared to the first quarter of 2022 due to the

suspension of operations at GrafTech’s Monterrey facilities, causing GrafTech to report a net loss of

more than $7 million, down significantly from reported net income of approximately $124 million

in the prior year quarter. On the corresponding conference call, defendant Halford confirmed that

the closing of the GrafTech’s Monterrey facility in 2022 was the “primary driver” of the precipitous

year-over-year decline in sales volume.

       138.    On this news, the price of GrafTech common stock fell from $4.73 per share on April

27, 2023 to $3.92 per share on May 2, 2023, a decline of approximately 17%, on above-average

trading volume. However, the price of GrafTech common stock continued to be artificially inflated

as the full truth regarding the Company’s business, operations, and financial results continued to be

concealed.

       139.    Then, on August 4, 2023, GrafTech issued a press release disclosing the Company’s

financial and operational results for the quarter ended June 30, 2023 (“2Q23 Release”). The 2Q23

Release reported that sales declined 49% compared to the second quarter of 2022 as the Company

continued to “recover” from the effects of the Monterrey facility shutdown in 2022. As a result of

the substantial decline in net sales, the 2Q23 Release reported a net loss of $8 million compared to

$115 million in net income the Company reported in the second quarter of 2022. On the


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corresponding conference call, defendant Kessler described the Monterrey suspension as the “key

driver” of the underperformance and revealed that GrafTech’s ability to secure customer contracts

would continue to be indirectly impacted in the second half of fiscal 2023, stating in pertinent part as

follows:

                  Yes. So a couple of thoughts. I don’t think we can comment directly on
         market shares. I don’t think we have enough transparency around that. In regards to
         the impact of Monterrey, and I think we’ve talked about that in some detail on the
         last 2 calls, right? During that suspension in late 2022, right? We lost the ability to
         negotiate volumes, especially for the first half of ‘23 and maybe even to some
         extent in the second half, right? So that was the worst possible time for that
         suspension. So that is really the key driver of the impact and underperformance and
         the disconnect between what you’re highlighting here, the steel utilization rates
         versus the electro plant utilization rate. I think it’s the indirect impact of Monterrey,
         the loss of that negotiation window during the most critical negotiation time in late
         2022.

         140.    On this news, the price of GrafTech common stock fell from $5.23 per share on

August 3, 2023 to $4.05 per share on August 4, 2023, or nearly 23%, on above-average trading

volume. The price of GrafTech stock has continued to fall thereafter, dropping as low as $1.50 per

share.

         141.    Ultimately, the price of GrafTech common stock fell 90% from the Class Period high,

causing plaintiff and the Class to suffer hundreds of millions of dollars in losses and economic

damages under the federal securities laws.

                           ADDITIONAL SCIENTER ALLEGATIONS

         142.    As alleged herein, defendants acted with scienter in that defendants knew, or

recklessly disregarded, that the public documents and statements they issued and disseminated to the

investing public in the name of the Company, or in their own name, during the Class Period were

materially false and misleading. Defendants knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements and documents as primary violations of the

federal securities laws. Defendants, by virtue of their receipt of information reflecting the true facts

regarding GrafTech, and their control over and/or receipt and/or modification of GrafTech’s
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materially false and misleading statements, were active and culpable participants in the fraudulent

scheme alleged herein.

         143.   Defendants knew or recklessly disregarded the false and misleading nature of the

information they caused to be disseminated to the investing public. The fraudulent scheme described

herein could not have been perpetuated during the Class Period without the knowledge and

complicity of, or at least the reckless disregard by, personnel at the highest levels of the Company,

including the Individual Defendants.

         144.   The Individual Defendants, because of their positions with GrafTech, controlled the

contents of GrafTech’s public statements during the Class Period. The Individual Defendants were

each provided with or had access to the information alleged herein to be false and misleading prior to

or shortly after its issuance and had the ability and opportunity to prevent its issuance or cause it to

be corrected. Because of their positions and access to material, non-public information, the

Individual Defendants knew or recklessly disregarded that the adverse facts specified herein had not

been disclosed to and were being concealed from the public and that the positive representations that

were being made were false and misleading. In particular, the Individual Defendants, by virtue of

their roles as members of GrafTech’s executive management, also served as members of the

Company’s ESG Steering Committee. As members of the ESG Steering Committee, the Individual

Defendants were responsible for defining the Company’s ESG mission and implementing and

overseeing the company-wide ESG strategy. GrafTech’s ESG strategy encompassed a wide range of

environmental issues, including specifically air quality and greenhouse gas emissions at GrafTech’s

Monterrey facility. Indeed, as defendant Rintoul explained during a conference call in February

2021:

         The steering committee oversees our sustainability strategy, which compromises – or
         comprises rather, of employee health and safety, community relations, materials
         sourcing and efficient, energy management, greenhouse gas emissions, air quality,
         water and waste water management. The strategy encompasses activities as varied

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       as our community involvement and outreach in Monterrey, Mexico, our capture of
       energy generated at our Seadrift Coke facility to create additional sources of
       electricity for the area and our emission reduction efforts that include the
       installation of control technology on equipment on all of our sites.

In addition, pursuant to their responsibilities as members of the ESG Steering Committee, the

Individual Defendants provided ESG strategy updates, including ESG metrics, at each Board

meeting. As a result, each of the defendants is responsible for the accuracy of GrafTech corporate

statements and is, therefore, responsible and liable for the representations contained therein.

       145.    GrafTech’s adverse environmental footprint also jeopardized the Company’s

operations, which was among the most important issues facing the Company and the focus of

GrafTech management, including the Individual Defendants. The Individual Defendants repeatedly

held themselves out as the persons most knowledgeable regarding GrafTech’s manufacturing

facilities, operational improvements, ESG strategies and initiatives, and cost structure.

       146.    Defendants and Company insiders also had the motive and opportunity to commit

fraud. While the price of GrafTech common stock was artificially inflated, defendant Brookfield (to

whom the Individual Defendants were beholden) sold approximately of $571 million worth of

GrafTech stock in the IPO plus an additional $2.8 billion worth of GrafTech common stock after the

IPO, primarily through six registered public offerings held within approximately three years of the

IPO. In addition, the Individual Defendants caused GrafTech to purchase directly from defendant

Brookfield $475 million worth of GrafTech shares pursuant to two share purchase agreements.

These sales further bolster an already compelling inference of scienter.

       147.    Defendants’ scienter is further underscored by the mandated certifications under the

Sarbanes-Oxley Act of 2002 of the Individual Defendants filed during the Class Period, which

acknowledged their responsibility to investors for establishing and maintaining controls to ensure

that material information about GrafTech was made known to them and that the Company’s

disclosure-related controls were operating effectively.

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       148.    The fact that numerous executive officers, including many of the Individual

Defendants, resigned from the Company either during the Class Period or shortly thereafter further

bolsters an already compelling inference of scienter.

                                      NO SAFE HARBOR

       149.    GrafTech’s “Safe Harbor” warnings accompanying its reportedly forward-looking

statements (“FLS”) issued during the Class Period were ineffective to shield those statements from

liability. To the extent that projected revenues and earnings were included in the Company’s

financial reports prepared in accordance with Generally Accepted Accounting Principles, including

those filed with the SEC on Form 8-K, they are excluded from the protection of the statutory Safe

Harbor. 15 U.S.C. §78u-5(b)(2)(A).

       150.    Defendants are also liable for any false or misleading FLS pled because, at the time

each FLS was made, the speaker knew the FLS was false or misleading and the FLS was authorized

and approved by an executive officer of GrafTech who knew that the FLS was false. None of the

historic or present tense statements made by defendants were assumptions underlying or relating to

any plan, projection, or statement of future economic performance, as they were not stated to be such

assumptions underlying or relating to any projection or statement of future economic performance

when made, nor were any of the projections or forecasts made by defendants expressly related to or

stated to be dependent on those historic or present tense statements when made.

                     APPLICATION OF PRESUMPTION OF RELIANCE;
                              FRAUD ON THE MARKET

       151.    At all relevant times, the market for GrafTech common stock was an efficient market

for the following reasons, among others:

               (a)     GrafTech common stock met the requirements for listing, and was listed and

actively traded on the NYSE, a highly efficient and automated market;



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               (b)     according to the Company’s Form 10-K for the fiscal year ended December

31, 2022, GrafTech had over 256 million shares outstanding as of February 10, 2023;

               (c)     as a regulated issuer, GrafTech filed periodic public reports with the SEC;

               (d)     GrafTech regularly communicated with public investors via established

market communication mechanisms, including the regular dissemination of press releases on

national circuits of major newswire services, the Internet, and other wide-ranging public disclosures;

and

               (e)     unexpected material news about GrafTech was rapidly reflected in and

incorporated into prices for the Company’s shares during the Class Period.

       152.    As a result of the foregoing, the market for GrafTech common stock promptly

digested current information regarding GrafTech from publicly available sources and reflected such

information in the price of GrafTech common stock. Under these circumstances, all purchasers of

GrafTech common stock during the Class Period suffered similar injury through their purchases of

GrafTech common stock at artificially inflated prices, and a presumption of reliance applies.

       153.    A presumption of reliance is also appropriate in this action under the Supreme Court’s

holding in Affiliated Ute Citizens v. United States, 406 U.S. 128 (1972), because plaintiff’s claims

are based, in significant part, on defendants’ material omissions. Because this action involves

defendants’ failure to disclose material adverse information regarding GrafTech’s business,

operations, and risks, positive proof of reliance is not a prerequisite to recovery. All that is

necessary is that the facts withheld be material in the sense that a reasonable investor might have

considered them important in making investment decisions. Given the importance of defendants’

material misstatements and omissions set forth above, that requirement is satisfied here.




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                             LOSS CAUSATION/ECONOMIC LOSS

        154.    During the Class Period, as detailed herein, defendants made false and misleading

statements and engaged in a scheme to deceive the market and a course of conduct that artificially

inflated the price of GrafTech common stock and operated as a fraud or deceit on Class Period

purchasers of GrafTech common stock by misrepresenting the value of the Company’s business and

prospects in the Company’s operations. As defendants’ misrepresentations and fraudulent conduct

became apparent to the market, the price of the Company’s stock fell precipitously on numerous

occasions as the prior artificial inflation came out of the stock’s price, as detailed herein. As a result

of their purchases of GrafTech common stock during the Class Period, plaintiff and other members

of the Class suffered economic loss, i.e., damages, under the federal securities laws.

                                 CLASS ACTION ALLEGATIONS

        155.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all purchasers of the common stock of

GrafTech during the Class Period (the “Class”). Excluded from the Class are defendants, the

officers and directors of the Company, at all relevant times, members of their immediate families,

and their legal representatives, heirs, successors, or assigns, and any entity in which defendants have

or had a controlling interest.

        156.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, GrafTech common stock was actively traded on the

NYSE. While the exact number of Class members is unknown to plaintiff at this time and can only

be ascertained through appropriate discovery, plaintiff believes that there could be hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by GrafTech or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.
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       157.    Plaintiff’s claims are typical of the claims of the members of the Class as all members

of the Class are similarly affected by defendants’ wrongful conduct in violation of federal law that is

complained of herein.

       158.    Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

       159.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               (a)      whether the Exchange Act was violated by defendants as alleged herein;

               (b)      whether statements made by defendants misrepresented material facts about

the business and operations of GrafTech; and

               (c)      to what extent the members of the Class have sustained damages and the

proper measure of damages.

       160.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden of

individual litigation make it impossible for members of the Class to individually redress the wrongs

done to them. There will be no difficulty in the management of this action as a class action.

                                             COUNT I

                 For Violation of §10(b) of the Exchange Act and Rule 10b-5
                         Against All Defendants Except Brookfield

       161.    Plaintiff incorporates ¶¶1-160 by reference.

       162.    During the Class Period, the defendants named herein disseminated or approved the

statements specified above, which they knew or deliberately disregarded were false and misleading

in that they contained misrepresentations and failed to disclose material facts necessary in order to

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make the statements made, in light of the circumstances under which they were made, not

misleading.

        163.   The defendants named herein violated §10(b) of the Exchange Act and Rule 10b-5 in

that they:

               (a)     employed devices, schemes, and artifices to defraud;

               (b)     made untrue statements of material fact or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they were

made, not misleading; or

               (c)     engaged in acts, practices, and a course of business that operated as a fraud or

deceit upon plaintiff and others similarly situated in connection with their purchases of GrafTech

common stock during the Class Period.

        164.   Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

the market, they paid artificially inflated prices for GrafTech common stock. Plaintiff and the Class

would not have purchased GrafTech common stock at the prices they paid, or at all, if they had been

aware that the market prices had been artificially and falsely inflated by defendants’ misleading

statements.

                                            COUNT II

                           For Violation of §20(a) of the Exchange Act
                                     Against All Defendants

        165.   Plaintiff incorporates ¶¶1-164 by reference.

        166.   The Individual Defendants acted as controlling persons of GrafTech within the

meaning of §20(a) of the Exchange Act. By reason of their positions with the Company, the

Individual Defendants had the power and authority to cause GrafTech to engage in the wrongful

conduct complained of herein. Defendant Brookfield controlled GrafTech and the Individual

Defendants for the reasons detailed herein, including their ownership of a majority of GrafTech

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voting stock, control of the Board, influence over GrafTech’s management, historical relationship

with the Company, and the various agreements that these defendants had caused the Company to

enter into. GrafTech controlled the Individual Defendants and all of its employees. By reason of

such conduct, defendants are liable pursuant to §20(a) of the Exchange Act.

                                       PRAYER FOR RELIEF

          WHEREFORE, plaintiff prays for relief and judgment, as follows:

          A.     Determining that this action is a proper class action, designating plaintiff as Lead

Plaintiff and certifying plaintiff as a Class representative under Rule 23 of the Federal Rules of Civil

Procedure and plaintiff’s counsel as Lead Counsel;

          B.     Awarding compensatory damages in favor of plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

          C.     Awarding plaintiff and the Class their reasonable costs and expenses incurred in this

action, including counsel fees and expert fees; and

          D.     Awarding such equitable/injunctive or other relief as the Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.

DATED: January 25, 2024                           LAW OFFICE OF GEORGE W. COCHRAN
                                                  GEORGE W. COCHRAN


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                                    CERTIFICATION OF NAMED PLAINTIFF
                                  PURSUANT TO FEDERAL SECURITIES LAWS

                     John C. Porter (“Plaintiff”) declares:
                     1.       Plaintiff has reviewed a complaint and authorized its filing.
                     2.       Plaintiff did not acquire the security that is the subject of this action at
             the direction of plaintiff’s counsel or in order to participate in this private action or
             any other litigation under the federal securities laws.
                     3.       Plaintiff is willing to serve as a representative party on behalf of the
             class, including providing testimony at deposition and trial, if necessary.
                     4.       Plaintiff has made the following transaction(s) during the Class Period
             in the securities that are the subject of this action: See attached Schedule A.
                     5.       Plaintiff has not sought to serve or served as a representative party in a
             class action that was filed under the federal securities laws within the three-year
             period prior to the date of this Certification except as detailed below: None.
                     6.       Plaintiff will not accept any payment for serving as a representative
             party on behalf of the class beyond the Plaintiff’s pro rata share of any recovery,
             except such reasonable costs and expenses (including lost wages) directly relating
             to the representation of the class as ordered or approved by the court.
                     I declare under penalty of perjury that the foregoing is true and correct.
             Executed this ____
                           21   day of January, 2024.


                                                                          John C. Porter




                                                                                                GRAFTECH
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                                                             SCHEDULE A

                                                   SECURITIES TRANSACTIONS

                                      Stock

                                       Date                      Amount of
                                     Acquired                  Shares Acquired   Price

                                    06/28/2021                      833          $11.95

        Prices listed are rounded up to two decimal places.
